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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 JASON HITT
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:07-CR-248-26 WBS
12                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
                                                         MODIFY BRIEFING SCHEDULE
13                          v.
14   GABRIEL CARACHEO,
15                                Defendant.
16

17                                               STIPULATION

18          On August 18, 2016, the Court adopted the parties’ stipulation to modify the briefing schedule

19 pertaining to a possible motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(2) to allow the

20 government additional time to assess its position in this case in light of the June 13, 2016, decision by
21 the Ninth Circuit in United States v. Davis, 825 F.3d 1014 (9th Cir. 2016) (Davis II), reversing its prior

22 holding. C.R. 1423.

23          On September 15, 2016, the Court ordered an additional modification to the briefing schedule for

24 the purpose of determining the application of Davis II.

25          The government requires two additional weeks to respond to defendant’s brief. Defense counsel

26 does not object to the new proposed briefing schedule. Defendant’s currently scheduled release date is
27 May 3, 2029.

28 / / /

      STIPULATION AND [PROPOSED] ORDER                   1
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 1         Accordingly, the parties stipulate and request that the current briefing schedule be vacated and a

 2 new briefing schedule be ordered as follows:

 3                 Government’s opposition to be due on November 17, 2016

 4                 Defendant’s reply, if any, to be due on December 1, 2016

 5         Therefore, the parties respectfully stipulate and request that this Court modify the briefing

 6 schedule as set forth above.

 7
     Dated: November 3, 2016                                PHILLIP A. TALBERT
 8                                                          Acting United States Attorney
 9
                                                            /s/ JASON HITT
10                                                          JASON HITT
                                                            Assistant United States Attorney
11

12
     Dated: November 3, 2016                                /s/ ERIN J. RADEKIN
13                                                          ERIN J. RADEKIN
14                                                          Counsel for Defendant
                                                            GABRIEL CARACHEO
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17                                         FINDINGS AND ORDER

18         IT IS SO FOUND AND ORDERED.

19 Dated: November 4, 2016

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      STIPULATION AND [PROPOSED] ORDER                  2
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